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                            U N ITED STATE S D ISTR IC T CO UR T
                            SO U TH ER N D ISTR IC T O F FL O RID A
                          CA SE N O .09-23154-CIV -SE1TZ/SlM ON TON

  SAN D RA RW K ER,

                Plaintiff,


  CARNIVAL CORPORATION ,etal.,

                D efendants.
                                       /

      ORDER GRANTING IN PART M OTION TO STRIK E EXPERT DISCLOSURES

         TH IS CA U SE is before the Coul'ton Plaintiffs Corrected M otion to Strike the Expert

  Disclosuresand Testim oniesofDr.Barry Hirsch,Dr.N orm an Kato,David W illinmsand Frank

  W oodrich (DE-200).ln hisresponse,DefendantPatelhaswithdrawn Dr.Bany Hirsch,Dr.
  Norm anKato and David W illiamsasexpertwitnesses. Consequently,the only relevantportion

  ofPlaintiffsM otion pertainsto Frank W oodrich.Plaintiffseeksto strike W oodrich's

  disclosuresand testim ony becauseW oodrich'sSdexpertreport''doesnotm eetthe requirementsof

  FederalRuleofCivilProcedure26(a)(2)andLocalRule 16.1(k).1DefendantPatelopposesthe
  M otionbasedonPlaintiffsfailuretocomplywithLocalRule7.1(a)(3)priortofilingtheMotion
  to Strike and because W oodrich'sreportcomplieswith therules. W hilethe Courtrecognizesthe

  importanceofLocalRule7.1(a)(3)andfindsthatPlaintiffscounsel'sactionsdonotcomport
  with theCourt'sexpectations,the Courtdeclinesto exerciseitsdiscretion to denyPlaintiffs



         l'
          T'heLocalRuleswere amended effectiveDecem ber1,2011and deleted theprior
   languageofRule16.1(k)becauseitwasduplicativeofFederalRuleofCivilProcedure26(a)(2).
   AtthetimePateldisclosedW oodrich,LocalRule 16.1(k)required,inpart,expertreportsto
   disclosethesubjectoftheexperttestimony,thesubstanceofthefactsandal1opinionstowhich
   theexpertisexpectedto testify,and a summ ary ofthegroundsforeach opinion.
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  m otion based solely on Plaintiffsquestionable com pliance w ith the rule.Therefore,the Court

  willconsiderthesubstanceofthe M otion to Strike.

         FederalRuleofCivilProcedure26(a)(2)requiresanexpertreporttocontain,among
  otherthings:$t(i)acompletestatementofa11opinionsthewitnesswillexpressandthebasisand
  reasonsforthem (and)(ii)thefactsordataconsideredbythewitnessin formingthem.''The
  requirementsofformerLocalRule 16.1(k)weresimilar.Uponreview,thereportdoesnot
  complywiththeserequirem ents,exceptfortheopinion undertheheading Sçl-lousing &

  W heelchairNeeds.''Approxim ately aquarterofthereportissimply questionsregarding the

  reportofoneofPlaintiffsexperts,Dr.Lessne.Theportionsofthereportthatcontain opinions

  donotsetoutthebasisandreasonsforthoseopinions,exceptfortheopinion undertheheading

  çdl-lousing& WheelchairNeeds.'' Quitesimply,themajorityoftheopinionscontained inthe
  W oodrich reportare conclusorywithoutsupporting reasons,facts,ordata. W hile atfirstglance,

  theportion ofthe reportundertheheading ''SupportCare& Housekeeper''w ould appearto meet

  therequirem entsoftherules,they donot.Thatsection setsouttheneedsofpeople suffering

  from paralysisbutdoesnotexplain how Plaintiffscondition com pares.Nordoesthissection

  explaintheusualneedsofsom eone in Plaintiff scondition. Thus,itislacking thenecessary

  basisandreasonsforW oodrich'sopinion on these matters.Consequently,itis

         ORD ERED that:
                 PlaintiffsCorrected M otion to StriketheExpertDisclosuresand Testim oniesof

   Dr.BarryHirsch,Dr.Norman Kato,and David W illiam sisDENIED asm oot.

         2.      PlaintiffsCorrected M otion to StriketheExpertDisclosuresand Testimoniesof

   Frank W oodrich isGRANTED in part. Frank W oodrich'sreportisstricken,exceptforthe


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                                          lousing & W heelchairN eeds.'' M r.W oodrich m ay
  portion ofthe reportunderthe heading Sdl-

  testify solely aboutthisopinion.
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         ooxsaxoomE
                  lsltsoinslianu,l-loricu,this/f dayofoecembescell.
                                                       @'
                                                            .         N


                                            PA T CIA A . IT
                                            UNITED STATES DISTRICT JUDGE

  CC*    Allcounselofrecord




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